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Local AO 450 (rev. )




                                                    United States District Court
                                                        District of North Dakota

   State of Iowa et al.,

                           Plaintiffs,
       vs.
                                                                             JUDGMENT IN A CIVIL CASE
   Council on Environmental Quality and Brenda Mallory, in her
   official capacity as Chair,

                           Defendants,                                       Case No.       1:24-cv-089
   and

   Alaska Community Action on Toxics et al.,

                           Intervenor-Defendants,
   and

   State of California et al.,

                           Intervenor-Defendants.


              Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

      ✔ Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.
              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
Pursuant to the Order filed February 3, 2025 the Plaintiff States’ Motion for Summary Judgment (Doc. No. 64)
is GRANTED. CEQ’s Motion for Summary Judgment (Doc. No. 84), Organization Intervenors’ Motion for
Summary Judgment (Doc. No. 87) and State Intervenors’ Partial Summary Judgment (Doc. No. 83) are
DENIED.




      February 3, 2025
Date: __________________                                                      .$5,0.18'621, CLERK OF COURT
                                                                                 /s/ Melissa Fischer, Deputy Clerk
                                                                             by:________________________________
